           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:07CR165-4

UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )              ORDER
                                                    )
PHILLIP EUGENE FORREST.                             )
__________________________________                  )

        THIS MATTER is before the court upon defendant’s own Petition for Writ

of Habeas Corpus Ad Testificandum (#432). For cause, defendant states that he is

needed to testify in a state criminal proceeding wherein he is allegedly the victim.

However, a federal detainee cannot move this court for his own transfer to state

custody for the purpose of giving testimony. First, no court can writ a prisoner to

another court; instead, a writ commands the custodian of a person to bring that person

before that court. Instead, a judge of the State of North Carolina must issue a writ

directed to the Executive Branch of the United States, which it does through

execution of North Carolina’s standard form AOC-Cr-223 in the case of writs ad

prosecuendum, and which they typically strike through and put in the words “ad

testificandum” when they desire a prisoner’s presence for the limited purpose of

testifying in a state-court proceeding. When the United States Marshal receives such

properly executed form, it forwards the form to the United States Attorney for review

and approval. There is no federal judicial role in such process.


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                                  ORDER

     IT IS, THEREFORE, ORDERED that defendant’s Petition for Writ of

Habeas Corpus Ad Testificandum (#432) is DENIED as being non justiciable.




                                          Signed: August 22, 2007




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